Case 18-13020-SDM          Doc 53    Filed 01/29/19 Entered 01/29/19 14:40:01             Desc Main
                                     Document     Page 1 of 4


                             UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF MISSISSIPPI


 In Re: Robert E. Gramling III                                               Case no. 18-13020

        Debtor In Possession                                                 Chapter 11




                                MOTION TO CONVERT, OR IN THE
                                  ALTERNATIVE TO DISMISS


       Comes now, David W. Asbach, the Acting United States Trustee for Region 5, “UST,” by and

through undersigned counsel, pursuant to 11 U.S.C. 1112(b) and Fed. R. Bankr. P. 1017, and files this

Motion to Convert to a Chapter 7 Case, or in the alternative to Dismiss the above styled and numbered

case, and in support thereof will show unto the court as follows, to-wit:



                                  JURISDICTION AND STANDING

                                                     I.

       This Court has jurisdiction over this matter, pursuant to 28 U.S.C. §§ 157 and 1334 and 11 U.S.C.

§ 1112, and the order granting automatic reference to this Court.           This matter constitutes a core

proceeding pursuant to 28 U.S.C. § 157(b).




 ust-mc7
Case 18-13020-SDM           Doc 53    Filed 01/29/19 Entered 01/29/19 14:40:01             Desc Main
                                      Document     Page 2 of 4




                                             BACKGROUND

                                                      II.

        On August 8, 2018, the Debtor, Robert E. Gramling, III, filed a voluntary petition for relief

pursuant to 11 U.S.C. Chapter 11. The debtor is designated as a small business debtor, pursuant to the

debtor’s Amended Voluntary Petition, filed on October 9, 2018. See DKT. 39.

                                 CAUSE FOR CONVERSION OR DISMISSAL

                                                     III.

         The Chapter 11 debtor is required to file monthly operating reports. See Rule 2015 of the

Federal Rules of Bankruptcy Procedure and the United States Trustee Chapter 11 Operating Guidelines

and Reporting Requirements, as promulgated pursuant to 28 U.S.C. § 586(a)(3).

                                                     IV.

         This debtor is delinquent in the filing of monthly operating reports.

                                                     V.

         In addition the debtor is required to pay UST quarterly fees until such time that the Chapter 11

case is converted or dismissed. See 28 U.S.C. § 1930(a)(6). The UST cannot confirm that the debtor is

current on the payment of UST quarterly fees in the absence of current monthly operating reports.

                                                     VI.

       Failure of the debtor to remain current with the filing of monthly operating reports and the payment

of UST quarterly fees are grounds to convert or dismiss this case. See 11 U.S.C. 1112 (b)(4)(F)(H) and

(K).




 ust-mc7
Case 18-13020-SDM          Doc 53    Filed 01/29/19 Entered 01/29/19 14:40:01          Desc Main
                                     Document     Page 3 of 4




                                                   VII.

         The UST reserves the right to bring additional grounds for cause to convert or to dismiss this

case at a hearing on this matter.

       WHEREFORE, PREMISES CONSIDERED, the UST submits this motion to convert, or in the

alternative dismiss the above styled and numbered case and prays that the court will enter an order

sustaining this motion.

            The UST prays for general relief to which entitled in these premises.

                                                            Respectfully submitted,

                                                            David W. Asbach,
                                                            Acting United States Trustee
                                                            Region 5, Districts of
                                                            Louisiana and Mississippi

                                                     by:    /s/ Sammye S. Tharp
                                                             Sammye S. Tharp
                                                             Trial Attorney
Sammye S. Tharp, Trial Attorney
United States Trustee, Region 5
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 ust-mc7
Case 18-13020-SDM            Doc 53   Filed 01/29/19 Entered 01/29/19 14:40:01          Desc Main
                                      Document     Page 4 of 4


                                      CERTIFICATE OF SERVICE

       I, Sammye S. Tharp, Trial Attorney for the UST, do hereby certify that a true and correct copy of

the foregoing motion to convert, or in the alternative to dismiss the above styled and numbered case has

been tendered to the individuals listed below by U. S. Mail, postage prepaid, and/or CM/ECF on this the

29th day of January, 2019.

       Craig M. Geno, Esq.
       Craig M. Geno PLLC
       cmgeno@cmgenolaw.com

                                                    /s/ Sammye S. Tharp
                                                           Sammye S. Tharp




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